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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF INDIANA
                                  HAMMOND DIVISION

UNITED STATES OF AMERICA,                            )
                                                     )
                              Plaintiff,             )
                              v.                     )      CAUSE NO.: 2:08-CR-111-RL-PRC
                                                     )
JOHN DOE a/k/a SAMUEL MUNOZ a/k/a                    )
JORGE QUIENTERO,                                     )
                      Defendant.                     )

        FINDINGS AND RECOMMENDATION OF THE MAGISTRATE JUDGE
                       UPON A PLEA OF GUILTY BY
      DEFENDANT JOHN DOE a/k/a SAMUEL MUNOZ a/k/a JORGE QUIENTERO

TO:    THE HONORABLE RUDY LOZANO, JUDGE,
       UNITED STATES DISTRICT COURT

       Upon Defendant John Doe a/k/a Samuel Munoz a/k/a Jorge Quientero’s request to enter a plea

of guilty pursuant to Rule 11 of the Federal Rules of Criminal Procedure, this matter came for hearing

before Magistrate Judge Paul R. Cherry, on December 9, 2008, with the consent of Defendant John Doe

a/k/a Samuel Munoz a/k/a Jorge Quientero, counsel for Defendant John Doe a/k/a Samuel Munoz a/k/a

Jorge Quientero, and counsel for the United States of America.

       The hearing on Defendant John Doe a/k/a Samuel Munoz a/k/a Jorge Quientero’s plea of guilty

was in full compliance with Rule 11, Federal Rules of Criminal Procedure, before the Magistrate Judge

in open court and on the record.

       In consideration of that hearing and the statements made by Defendant John Doe a/k/a Samuel

Munoz a/k/a Jorge Quientero under oath on the record and in the presence of counsel, the remarks of

the Assistant United States Attorney and of counsel for Defendant John Doe a/k/a Samuel Munoz a/k/a

Jorge Quientero,

       I FIND as follows:
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        (1) that Defendant John Doe a/k/a Samuel Munoz a/k/a Jorge Quientero understands the

nature of the charges against him to which the plea is offered;

        (2) that Defendant John Doe a/k/a Samuel Munoz a/k/a Jorge Quientero understands his right

to trial by jury, to persist in his plea of not guilty, to the assistance of counsel at trial, to confront and

cross-examine adverse witnesses, and his right against compelled self-incrimination;

        (3) that Defendant John Doe a/k/a Samuel Munoz a/k/a Jorge Quientero understands what

the maximum possible sentence is, including the effect of the supervised release term, and Defendant

John Doe a/k/a Samuel Munoz a/k/a Jorge Quientero understands that the sentencing guidelines

apply and that the Court may depart from those guidelines under some circumstances;

        (4) that the plea of guilty by Defendant John Doe a/k/a Samuel Munoz a/k/a Jorge Quientero

has been knowingly and voluntarily made and is not the result of force or threats or of promises;

        (5) that Defendant John Doe a/k/a Samuel Munoz a/k/a Jorge Quientero John Doe a/k/a

Samuel Munoz a/k/a Jorge Quientero is competent to plead guilty;

        (6) that Defendant John Doe a/k/a Samuel Munoz a/k/a Jorge Quientero understands that his

answers may later be used against him in a prosecution for perjury or false statement;

        (7) that there is a factual basis for Defendant John Doe a/k/a Samuel Munoz a/k/a Jorge

Quientero’s plea; and further,

        I RECOMMEND that the Court accept John Doe a/k/a Samuel Munoz a/k/a Jorge

Quientero’s plea of guilty to the offenses charged in Counts 1, 2, 3, and 4 of the Indictment and that

Defendant John Doe a/k/a Samuel Munoz a/k/a Jorge Quientero be adjudged guilty of the offenses

charged in Counts 1, 2, 3, and 4 of the Indictment and have sentence imposed. A Presentence Report

has been ordered. Should this Report and Recommendation be accepted and John Doe a/k/a Samuel

Munoz a/k/a Jorge Quientero be adjudged guilty, sentencing will be held in the Hammond Division,
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before Judge Rudy Lozano, on March 19, 2009, at 12:30 p.m. Objections to the Findings and

Recommendation are waived unless filed and served within ten (10) days. 28 U.S.C. § 636(b)(1)(B).

       So ORDERED this 9th day of December, 2008.

                                                    s/ Paul R. Cherry
                                                    MAGISTRATE JUDGE PAUL R. CHERRY
                                                    UNITED STATES DISTRICT COURT
cc:    All counsel of record
       Honorable Rudy Lozano
